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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 HENRY SEELIGSON, JOHN M.
 SEELIGSON, SUZANNE SEELIGSON
 NASH, and SHERRI PILCHER,
 individually and on behalf of all others
 similarly situated,
                                                 Civil Action No. 3:16-CV-00082-K
        Plaintiffs,

 v.

 DEVON ENERGY PRODUCTION
 COMPANY, L.P.,

        Defendant.


                                         ORDER

       Before the Court is Defendant Devon Energy Production Company, L.P.’s Motion

for Leave to Respond to Plaintiffs’ Supplementation of Class Certification Record (Doc.

No. 171). The Court carefully considered the Motion, Plaintiffs’ response, and the

relevant authority. The Court GRANTS the Motion and ORDERS that Defendant

Devon Energy Production Company, L.P. may file evidence responding to Plaintiffs’

supplementation of the class certification record.

       SO ORDERED.

       Signed April 28th, 2016.




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                                                   ED KINKEADE
                                                   UNITED STATES DISTRICT JUDGE


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